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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
JOHN P. “JACK” FLYNN and LESLIE A. FLYNN,

                                Plaintiffs,

       -v-
                                                          CIVIL ACTION NO.: 21 Civ. 2587 (GHW) (SLC)

                                                                              ORDER
CABLE NEWS NETWORK, INC.,

                                Defendant.


SARAH L. CAVE, United States Magistrate Judge.

       Pursuant to the telephonic discovery conference held today, November 23, 2022 (the

“Conference”), the Court orders as follows:

       1. The fact discovery deadline is EXTENDED to April 17, 2023. Within one week of the

             close of fact discovery, that is by April 24, 2023, the parties must file a joint letter on

             the docket certifying that fact discovery is complete.

       2. With respect to the pre-conference letter submitted by Plaintiffs John P. “Jack” Flynn

             and Leslie A. Flynn (the “Flynns”) (ECF No. 95), the Court orders as follows:

                a. Defendant Cable News Network, Inc. (“CNN”) shall produce any remaining

                    documents relating to CNN’s ratings and viewership of the Report

                    (ECF No. 1 ¶ 4).

                b. CNN shall conduct a reasonable search for and produce copies of the “Special

                    Report[s]” hosted by Anderson Cooper that aired on (i) January 31, 2021, and

                    (ii) February 26, 2021.
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       c. CNN will confirm that Donie O’Sullivan’s (“O’Sullivan”) social media accounts

          were searched for mentions of the Flynns, and CNN shall produce any

          additional responsive documents.

       d. The Flynns’ requests for documents concerning the positions CNN has taken

          in prior reports regarding what constitutes a “QAnon follower,” and

          O’Sullivan’s employment agreement(s) are DENIED WITHOUT PREJUDICE.

       e. The Court DENIES the Flynns’ remaining requests for:

               i. “Dossiers and research on Trump, General Flynn or QAnon;”

              ii. “Communications with the J6 Committee regarding General Flynn

                  and/or QAnon;”

             iii. “All documents that show General Flynn promoted any ‘QAnon

                  slogan’;”

             iv. “Any evidence that supports the contention that General Flynn is a

                  QAnon follower;”

              v. “Any documents in Anderson Cooper’s possession and control that

                  mention any member of the Flynn family;” and

             vi. “CNN[’s] tax returns and other support for its ‘book value’ estimate of

                  net worth[.]”

3. To the extent CNN’s pre-conference letters (ECF Nos. 94; 96) request the production

   of outstanding discovery, the Court orders as follows:

       a. As required by the Court’s order dated October 28, 2022 (ECF No. 91 (the “Oct.

          28 Order”)) the Flynns shall advise CNN which email and social media accounts


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           they have searched and which search terms and date ranges they used, and

           the parties shall meet and confer to assess (i) which additional search terms

           should be applied, and (ii) to which accounts.

       b. The Flynns’ counsel shall conduct a search of the following additional email

           accounts: (1) Lori Flynn, andrades7@icloud.com; (2) Michael Flynn, Jr.,

           mgf83@protonmail.com; (3) Joseph Flynn, joe.flynn@vereco.com; and

           (4) General Flynn, rpatriot@mailsol.net.

       c. The Flynns’ counsel shall provide the notarized consent of Lori Flynn, including

           an email address and telephone number, that CNN needs to request her social

           media account data from Parler.

       d. The Flynns shall produce to CNN (i) a list of phone numbers for which text

           messages have been searched, and (ii) to which of the Flynns they correspond.

4. The parties shall produce the documents described in this Order, and any outstanding

   items from the Oct. 28 Order, by Thursday, December 15, 2022.

5. The parties shall order a transcript of the Conference and file it on the docket. The

   parties shall submit a single request to: etranscripts@nysd.uscourts.gov by Monday,

   November 28, 2022.

6. The Court will issue an order regarding the privilege log issued outlined in the Flynns’

   letter (ECF No. 80) and discussed in the October 28, 2022 conference (ECF min. entry

   Oct. 28, 2022; see ECF No. 92) in due course.

7. A telephonic status conference is scheduled for Tuesday, March 21, 2023 at 10:00

   a.m., on the Court's conference line. The parties are directed to call: (866) 390-1828;


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            access code: 380-9799, at the scheduled time. By 5:00 pm on Thursday, March 16,

            2023, any party wishing to do so may file a letter of no longer than three (3) pages

            listing discovery disputes requiring the Court’s attention.

         8. The Clerk of Court is respectfully directed to close ECF No. 95.


Dated:          New York, New York
                November 23, 2022

                                                      SO ORDERED.



                                                      _________________________
                                                      SARAH L. CAVE
                                                      United States Magistrate Judge




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